Case 1:24-cv-07442-JHR Document 12°’ Filed 01/10/25 Page 1 of 3

UNITED STATES DISTRICT. COURT. yap
SOUTHERN DISTRICT OF NEW YORK |

NS NYE,
Celli v. Garland et al. case no. 2g Cie O1VY oO.

Re; Pre-MOTION FOR JUDICIAL RECUSAL PURSUANT TO 28 U.S.C. § 455,
as Sen. Schumer and Sen. Gilliband have vested interest in this
case and they misusing their positions to help Randi Weingarten
in her involvement of depriving me of fair trial} wage theft,
health insurance, pension theft, etc

Dear Judge Seibel and Judge Rearden

T forgot to include knowledge from outside proceedings and Ohio
v. Tumey for connections, like Sen. Schumer and Sen. Gilliband.
I have saying pre-motion because no defendant has had an
opportunity to oppose my motion. Your Honors, however, could
decide “sua sponte.”

COMES NOW, LUCIO CELLI, Plaintiff in the above-captioned matter
and moves this Honorable Court for the recusal of Judges Paul A.
Engelmayer, Cathy Seibel, and Jennifer Rearden pursuant to 28
U.S.C. § 455. In support thereof, [Party] states as follows:

I. INTRODUCTION

1. This motion seeks the recusal of Judges Engelmayer, Seibel,
and Rearden based on their political connections and
relationships with United States Senators Charles Schumer and
Kirsten Gillibrand, which create an appearance of impropriety
and potential bias in violation of 28 U.S.C. § 455 and the Code
of Conduct for United States Judges.

IT. LEGAL STANDARD

2. Under 28 U.S.C. § 455(a), a judge “shall disqualify himself
in any proceeding in which his impartiality might reasonably be
questioned.”

3. The standard for recusal is whether an objective,
disinterested observer fully informed of the facts would
entertain significant doubt that justice would be done in the
case,

Case 1:24-cv-07442-JHR Documenti12 _ Filed 01/10/25 Page2of3

ITI. GROUNDS FOR RECUSAL
A. Judge Paul A. Engelmayer and Judge Cathy Seibel

4. Judges Engelmayer and Seibel have significant political
connections to Senator Charles Schumer, who played a crucial
role in their nominations and appointments to.the federal bench.

5. Senator Schumer's direct involvement in their judicial
appointments creates an appearance of political allegiance that
could reasonably cause an objective observer to question their
impartiality, particularly in matters where Senator Schumer's
political interests or positions may be relevant.

B. Judge Jennifer Rearden

6. Judge Rearden's appointment to the federal bench was strongly
Supported and advocated for by Senator Kirsten Gillibrand.

7. This political sponsorship and support from Senator
Gillibrand creates an appearance of potential bias and raises
reasonable questions about impartiality, particularly in matters
involving Senator Gillibrand's political interests or positions.

IV. LEGAL ARGUMENT

8. The Supreme Court has established that recusal is required
not only when actual bias exists but also when there is an ,
appearance of partiality. See Liljeberg v. Health Services
Acquisition Corp., 486 U.S. 847 (1988).

9. The political relationships between:

a. Judges Engelmayer and Seibel with Senator Schumer, and

b. Judge Rearden with Senator Gillibrand

create precisely the type of appearance of impropriety that §
455(a) was designed to prevent.

10, These relationships demonstrate potential bias or, at
minimum, create an appearance of bias that requires recusal
under § 455(a).

11. The integrity of the judicial process requires that judges
not only be impartial in fact but also appear to be impartial.
The close political connections between these judges and their
sponsoring senators create a reasonable doubt about their
ability to maintain impartiality.

Case 1:24-cv-07442-JHR Documenti12 _ Filed 01/10/25 Page 3of3

Please Take Notice, I can prove that I was denied a fair trial
by Schumer with his judges and Randi Weingarten, denial of
liberty without due process and Engelmayer/Peace’s involvement
in employment decision due to Engelmayer’s order.

V. AUTHORITY

12. In similar cases, courts have recognized that close
political relationships can create an appearance of impropriety
requiring recusal:

- In re United States, 6606 F.2d 690 (lst Cir. 19981)

- United States v. Alabama, 828 F.2d 1532 (lith Cir. 1987)

VI. CONCLUSTON

WHEREFORE, [Party] respectfully requests that Judges Engeimayer,
Seibel, and Rearden recuse themselves from this matter pursuant
to 28 U.S.C. § 455 and that this case be reassigned to judges
whose impartiality cannot reasonably be questioned.

Respectfully submitted,

CA
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